~” Case:18-17091-EEB Doc#:1 Filed:08/14/18 -Entered:08/15/18 15:21:10 Pagelof59

Fill in this information fo identify your case: -

United States Bankruptcy Court for the:
District of COLORADO

Case number (# known). i apter you are filing under:

'Chapter 7

Q Chapter 11
()_ Chapter 12
ja [Chapter 13

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing tor’

?

FILED
KENNETH 8. GARDNER, CLERS:
W018 AUG 14 P 3 Ob

U.S, BANKER apa i EF an
bisiRicT OF ended filing

 

ankruptcy 42117

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone, A married couple may file a bankruptcy case together—called a
joint case~and in joint cases, these forms use you to ask for Information from both debters. For example, if a form asks, “Do you owna car,”
the answer would be yes if either debtor owns a car. When Information Is needed about the spouses separately, the form uses Debtor f and
Debtor 2 to distinguish between them. In jolnt cases, one of the spouses must report Information as Debfor 7 and the other as Debtor 2. The

same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. tf two marrled people are filing together, both are equally responsible for supplying correct

Information. !f more space fs neaded, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

{if known), Answer every question.

a Identify Yourself

 

4. Your full name

Write the name that is on your
govemmentissued picture
identification (for example,
your driver's license or
passport).

Bring your picture
identification to your meeting
with the trustee.

moe ‘About Debtor 2 (Spouse Only Ina Joint Case); a

 

 

 

About Debtor 4:

Brandon — \

First name C _ First name
Michael

Middle name fi \ Middle name
Mey {Cie tA cy

Last name * Last name

Suffix (Sr., Jr, I, Uh

Suffix (Sr., Jr., I, lil)

 

2. All other names you
have used in the last 8
years

Include your mamied or
maiden names.

3. Only the last 4 digits of
your Social Security
number or federal
individual Taxpayer
{dentification number
(ITIN)

 

 

 

 

 

 

 

 

 

 

 

First name First name

Middle name Middle name

Last name _ Last name

First name ‘First name

Middle name "Middle name

Last name - Last name °

xxx = xx — 2321 _ MX = XK
OR OR

Sux - x - Sx - xx =

 

Official Form 101

 

 

 

 

 

 

 

 

 

 
 

“Gase-18-17091-EEB Doc#:1. Filed:08/14/18

~ Entered:08/15/18 15:21:10 “Page? of 59”

 

 

 

 

 

Debtor 4 Brandon Michael Mckay Case number (wtnoan}
Firstitane Madde bias Lest Namie
About Debtor 1: * : , About Debtor 2 {Spouse Only in a Joint Case):

4, Any business names
and Employer
Identification Numbers
(EIN) you have used in
the fast 8 years

Include trade names and
doing business as names

Cade/\
4

 

5, Where you live

6. Why you are choosing
this district to file for
bankruptcy

UO I have not used any business names or EINs.

Different Strokes L.1.c

: CI f have not used any business names or EiNs.

 

Business name

. Business name

 

Business name

. Business name

 

581 Delta Ave

 

Number

 

 

Number Streel i
Akron co 80720
City State ZIP Code

Washington
County

If your maillng address {s different from the one
above, fill lt in here. Note that the court will send
any notices to you at this maiting address.

_ City State

 

Number Street

_ Number

 

P.O. Box

 

City State ZIP Code

Check one:

  

have lived in this district longer
other district.

CO) [have another reason. Expiain.
(See 28 U.S.C. § 1408.)

’ City State

 

 

 

 

 

Official Form 101

_ If Debtor 2 lives at a different address:

 

Street

 

 

ZiP Code

 

"| County

_ if Debtor 2’s matling address Is different from

yours, fill it In here. Note that the court will send
any notices to this mailing address.

 

Street

 

: BG, Box

 

ZIP Code

 

Check one:

4 Over the last 180 days before filing this petition,
{ have lived in this district longer than in any
oiher district.

{] | have another reason. Explain.
(See 28 U.S.C. § 1468.)

 

 

 

 

 

page 2

 

 

 

 

 

 

 
~Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Pagesof59.

Debtor 1 Brandon Michael

Mekay Case number ¢inown)

Firnthiane Vidde Name Last ame

Part 2: Teil the Court About Your Bankruptcy Case

 

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

3, How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

[Va'No

Check one. (For a brief desciption of each, see Notice Required by 11 U.S.C. § 342(b} for Individuals Filing
for Bankruptcy (Form 2010). Also, go to the top of page 1 and check the appropriate box.

[Jf Chapter 7
(] Chapter 11

O) Chapter 12
[(Ciichapter 13

a 1 will pay the entire fee when I file my petition. Please check with the clerk’s office in your
focal court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attomey may pay with a credit card or check
with a pre-printed address.

C1 | need to pay the fee in installments. If you choose this option, sign and attach the
i... for Individuals to Pay The Filing Fee in installments (Official Form 103A).

il request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in Installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Walved (Official Form 103B) and fife it with your petition.

 

 

 

[Ulives. District When Case number
MMI ODIYYYY

District When Case number
MM / ODSYYYY

District When Case number
MM? DDI YYYY

 

40, Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

41, Do you rent your
residence?

Officias Form 101

{dino

 

 

[Chves. Debtor Relationship to you
Dishict When Case number, if known.
MM {DO PYYYY
Debtor Relationship to you
District When Case number, if known,
MM /DDIYYYY

 

CENo. Go to line 12.
iYes, Has your landlord obtained an eviction judgment against you and do you want fo stay in your
residence?

(ai No. Go fo line 42.

(Uj Yes. Fill out initial Statement About an Eviction Judgment Against You (Ferm 107A) and file it with
this bankruptcy petition.

Voluntary Petition for Individuals Fillng for Bankruptcy page 3

 

 

 

 

 

 

 

 

 
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Debtor 1 Brandon Michael Mekay Case number (tizoan}
Fint hame Mode Name Last Name

| Part 3: | Report About Any Businesses You Own as a Sole Proprietor

12, Are you a sole proprietor [{AiNo. Go to Part 4.

of any full- or part-time =
business? [01 Yes. Name and location of business

A sofe proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a comporation, partnership, or
LLC,

If you have more than one
sole proprietorship, use a
separate sheet and altach it
to this petition. Giy State FIP Code

 

Name of business, if any

 

Number Sireet

 

 

Check the appropriate box to describe your business:

(LD |Health Care Business (as defined in 14 U.S.C. § 101(27A))
[Cli single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
[C3] Stockbroker (as defined in 11 U.S.C. § 101(53A))

{UJ| Commodity Sroker (as defined in 11 U.S.C. § 101(6))

ia None of the above

 

43. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the ean set appropriate deadiines. \f you Indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retuin or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 4116(1)(B).
debtor?

{2 No. [am not filing under Chapter 41.
For a definition of smatf ing under (nap
business debtor, see (2 No. | am filing under Chapter 14, but am NOT a smal business debtor according to the definition in
11 U.S.C. § 109{61D). the Bankruptcy Code.

C) Yes. 1am filing under Chapter 14 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Part 4: | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you ownorhave any (4) No
property that poses or is
alleged to pose a threat QO Yes. What is the hazard?
of imminent and
identifiable hazard to
public heaith or safety?
Or do you own any
property that needs . .
immediate attention? if immediate attention is needed, why is it needed?
For example, do you own
perishable goods, or livestock
that must be fed, or a buifding
that needs urgent repairs?

 

 

 

 

Where is the properly?

 

Number Street

 

 

City State ZIP Coda

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 

 

 

 

 

hi

 
~ Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 PageS of 59°

Debtor 4 Brandon Michael

Feut Hamre Midis Hare

Mckay

Last Name

Case number (#inaant,

ae Explain Your Efforts to Receive a Briefing About Credit Counseling

 

46. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 104

About Debtor 1:
You must check one:

(2 I received a briefing from an approved credit
counseling agency within the 180 days before!
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed wilh the agency.

(J) | received a briefing from an approved credit
counsellng agency within the 180 days before!
filed this bankruptcy potition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, If any.

C1 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtaln those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary walver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, aftlach a separate sheet explaining
what efforts you made to obfaln the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you fled for bankruptcy.

Ifthe coust is satisfied with your reasons, you must
sti receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
daveloped, if any. H you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(3 | am not required to receive a briefing about
credit counseling because of:

Q) incapacity. have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

] Disability. My physical disability causes me
fo be unable to paricipate in a
briefing In person, by phone, or
through the intemet, even after f
reasonably tried fo do so.

CJ Active duty. [am currently on active military
duty in a milifary combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuatla Fillng for

"About Debtor 2 (Spouse Only ina Jolnt Case}:
. You must check one:

_ W Lreceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and { recelved a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(I I racelved a briefing from an approved credit
counseling agency within the 180 days before !
filed thls bankruptcy petition, but I do not havea
certificate of completion,

Wihin 14 days after you file this bankruptcy petition, —
you MUST file a copy of the certificate and payment
ptan, if any.

Q) I certify that | asked for credit counseling
services from ait approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
elrcumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, aftach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you fifed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do nol do so, your case
may be dismissed,

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15

days.

() § am not required to recelve a briefing about
credit counseling because of:

QJ Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of reaiizing or making
rational decisions about finances.

C] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after I
reasonably tried to do so.

(I Active duty. 1am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 

 

 

 

 

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page6 of 59°

Debtor 1 Brandon Michael Mckay Case number (¢#zcan}
Fatt Mame Losde Hare Last Hane

 

ude Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)}
16. you have? of debts do as “incurred by an individual primarily for a personal, family, or household purpose.”

Ia! No. Go to fine 46b.
[dl Yes, Go to line 17.

16b, Are your debts primarily business debts? Susiness debfs are debits that you Incurred to obfain
money for a business or Investment or through the operation of the business or Investment.

[A No. Go to line 1c.
[Cl] Yes. Go to tine 17,

16c, State the type of debts you owe that are not consumer debts or business debts.

 

 

47. Are you filing under

Chapter 7? |; No. fam not filing under Chapter 7. Go to line 78.

Do you estimate that after [4 Yes. | an filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are pald that funds will be available to distribute to unsecured creditors?
excluded and [il No

administrative expenses ‘

are pald that funds will be CO Yes

available for distribution
_.to unsecured creditors?

   
 

 

48. How many creditors do —_‘[\ffi1-49 [Oi1,000-5,000 [2 !26,004-50,000
you estimate that you 50-20 |(¥'s,001-10,000 [€J}50,004-100,000
owe? 100-199 [C2 10,001-25,000 ay More than 100,000
9. How much do you {(4! so-$50,000 ((1's1,000,001-$40 million C2 $500,000,001-$4 billion
estimate your assets to —_ (C1'$50,001-$100,000 [C¥'s10,000,001-$50 mittion CJ $1,000,000,001-$10 billion
be worth? 1-¥'$100,001-$500,000 (J $50,000,001-$100 miltion Q) $4¢,000,000,001-$50 billion
fF $500,001-$1 mition ——___(}$400,000,001-$600 milion CI More than $60 billion
20, How much do you [(C!$0-$50,000 (1's1,000,004-840 million (2 $500,000,001-$4 billion
estimate your liabilities |$60,001-$100,000 Bi eevccrea se million C1 $4,000,000,901-$10 billion
to be? PEt oo (3/$50,000,001-$100 million (C) $40,000,000,004-$50 billion
|CI'$500,001-$1 million [4¥'$100,000,001-$500 million C] More than $60 billion

irlii@ie sign Below

| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

[f | have chosen {o file under Chapter 7, f am aware that i may proceed, if eligible, under Chapter 7, 14,12, or 43
of tile 1+, United States Cede. | understand the relief available under each chapter, and I choose to proceed
under Chapter 7.

   
  

If no attomey represénts fre and | did not pay or agree to pay someone whe Is not an aftomey to hefp me fill out
this document, | hgve obtained and read the notice required by 44 U.S.C. § 342(b}.

x

Signature of Debtor 2

 

 

Executed on
WM / DD fYVYY

Official Form 101 Voluntary Petition for Individuals Flling for Bankruptcy page 6

 

 

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page7 of 59

Debtor 4 Brandon Michael Mckay Case number (wtzonn,
Fest ame Haske Hane Lev Hame

|, the attomey for the debtor(s) named in this petition, declare that 1 have informed the debtor(s) about eligibility
to proceed under Chapter 7, 14, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person Is eligible. | also certify that | have delivered to the debtar(s)
the notice required by 14 U.S.C. § 342(b) and, in a case In which § 707(b)(4)(D) applies, certify that | have no
Ifyou are notrepresented —_ knowledge after an Inquiry that the Information in the schedules filed with the petition is incorrect.
by an attorney, you do not

For your attomey, if you are
represented by one

 

 

 

 

 

 

 

 

 

 

 

need to file this page. xK
Date
Signature of Attomey for Debtor MM 6/0) «6©DD OfYYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

Official Form 164 Voluntary Petition for Individuals Filing for Bankruptcy page?

 

 

 

 

 

  

 
Case:18-17091-EEB

Debtor + Brandon Michael
Faint Mane Vide Hame

For you ff you are filing this
bankruptcy without an
attomey

if you are represented by
an attorney, you do not
need to file this page.

YAP
Poo Debtor A Signature of Debtor 2
Bate f Date
MMs DD TYYYY

Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Pages of 59

Mckay Case number (eiresn)
Last Name.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firmn if your case is selected for audit. If that happens, you could fose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must Jist all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, ar tying. Individual bankruptcy
cases are randomly audited fo determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filng for yourself, To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any stale exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

O No

[V Fes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CJ No

[hes
Did you pay or agree to pay someone who is not an attorney fo help you fill out your bankruptcy forms?
QO No

O) Yes. Name of Person ,
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

  

By signing heye, J ack oyna | understand the risks involved in filing without an attomey. I
have, dAingefstood this notice, and | am aware that filing a bankruptcy case without an
re fa me to‘lose my rights or property if 1 do not properly handie the case.

x

 

 

MMi DD IYYYY

Contact phone GbYee fAYQ Contact phone
Cell phone W0O-¢S4 “SES, / Cell phone

Email address f é Ema address

Official Form 104

Voluntary Petition for Individuats Filing for Bankruptcy page 8

 

 

 

 

 

 

 
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FILED _
KENNETH S. GARDNER, CLCRE

7018 AUG [4 P 3 Ob - Certificate Number: 18132-CO-CC-031471910
us. oaNrurl ny Gay HUM HALL

CERTIFICATE OF COUNSELING

I CERTIFY that on August 14, 2018, at 1:07 o'clock PM MST, BRANDON
MCKAY received from $$$$$Simple Class, Inc., an agency approved pursuant to
11 U.S.C. § 111 to provide credit counseling in the District of Colorado, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and i 11.

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
_copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: August 14, 2018 By: /sfAnna Konz for Laura Hauptman
Name: Laura Hauptman

Title: Credit Counselor

® Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy.
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 

 

 

 

 

 
~Case:18-17091-EEB Doc#1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page10 of 59.

RUSE CR CNN ctl Pao eee

        
      

  

Brandon Michael Mckay

Fret Hare Lice Hama Last tiame

Debtor i

 

FILED -

KENNETH 5. GARORER, CLEsa
1018 AUG ty PP 3 Ob
U.S. BARKRUPTCY COURT

GISTRICT OF COLORACO check if this is an
amended filing

  
 
      
   
   

Debtor 2
{Spouse, # filing) First Hane jedda ane Lest Mare:

 

United States Bankruptcy Court for the: District of COLORADO

Case number
(If knean}

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 046

Be as complete and accurate as possible. If two marred people are filing together, both are equally responsible for supplying correct
information. If more space fs needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

rg «- Detalls About Your Marital Status and Where You Lived Before

 

4. What is your current marital status?

(Cd Married
[Kd Not married

_ 2. During the Jast 3 years, have you lived anywhere other than where you live now?

[Ci No

(a Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: DatesDebtor1 Debtor2; = = vl... Dates Debtor 2
lived there lived there
() same as Debtor 1 £4 same as Debtor 4
Colorado Department Of Correct From {0/14 From
Number Street Number Street
To 1/iF To
Olney Springs
City State ZIP Code City State ZIP Code
EL] same as Debtor 4 Cl same as Debtor 1
3801 E 56th Ave
From Lifil From
Number Street Number Street
To 10/14 To
Commerce City 80022
City Stata ZIP Code Cily State ZIP Code

"3. Within the last 8 years, did you ever live with a spouse or legal equivalent In a community property stato or territory? (Community property
states and terrifories include Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

\4: No

(Cli Yes. Make sure you fill out Schedule H: Your Codeblors (Official Form 106H).

Bees erm the Sources of Your income

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 

 

 

 

 

 

 

 
~ Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Pagel1 of 59

Debtor 4 Brandon Michael Mckay Case number (irosn)
Fraime ate Ware tact Hise

 

4, Old you have any Income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activilles.
If you are filing a joint case and you have Income that you receive together, list it only once under Debtor 1.

iO No
[1d Yes. Fill in the details.

 
     

Sources ofincome Gross Income : Sources ofincome |. . -

 

 

 

= Gross Income :
Check afl that apply. .... (before deductionsand — Check all that apply. . {before deductions and
vo . exclusions) . . es exclusions} :
wi commissions Q) Wages, commissions,
From January 1 of current year untll Wages, co * 14000 C0 ; 0
the date you filed for bankruptcy: bonuses, tips $ bonuses, Ups $
GQ Operating a business a Operating a business
For last calendar year: id wages, commissions, £3 wages, commissions,
vr201 bonuses, tips g 24000 bonuses, tips $ °
(January 4 to December 31, **7917__) (} Operating a business C) operating a business
For the calendar year before that: OF Weass, commissions, C1 wages, commissions,
bonuses, Ups $ 0 bonuses, lips $ 6G
(January 4 to December 31, ) (CO Cperatinga business () Operating a business OO

5, Did you recelve any other income during this year or the two previous calendar years?
Include Income regardless of whether that income is taxable. Examples of other income are alimony, child support; Socia! Security,
unemployment, and other public benefit payments; pensions; rental Income; interest; dividends; money collected from lawsuits; royalties; and
gambling and foltery winnings. if you are filing a joint case and you have Income that you received together, jist it only once under Deblor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

{M4 No

[CU ves. Fill in the detaits.

 
       

Sources offncome |

 

 

 

 

 

 

 

Gross income from Sources of income . Gross income from
Describe below. - each source Describe below. | eachsource _.
eae rs :. (before deductions and oo.” {before deductions and
exclusions} =: . oo exclusions) ws
From January 1 of current year until $8 —_—_____——— 3.8
the date you flied for bankruptcy: $
For Jast calendar year: $_0 $0
(January 1 to December 31, } $ 3.
vy
$e
For the calandar year before that: $0 $_9
(January 1 to December 31, ) $ $ a
$

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 

 

 

 

 

 
~” Gase-18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page12 of 59

Debtor 1 Brandon Michael Mckay Case number {#tncen,
Fret Hane iidde Hare Last Hane

 

ee Certain Payments You Made Before You Filed for Bankruptcy

' ¢. Are elther Debtor 1's or Debtor 2's debts primarily consumer debts?
[Ell No. Netther Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debls are defined in 14 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, of household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a folal of $6,425* or more?

{1 No. Go to line 7.

Ul Yes. List below each creditor to whom you paid a total of $6,425" or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
chifd support and alimony. Also, do nat include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on oF after the date of adjustment.

ja Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

a No. Go to line 7.

io Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony, Also, do not include payments to an attomey for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid : Amount you still owe .. Wasthis payment for...
payment a coe me me at : te a pe on
$ $
Crecktor’s Name O Mortgage
3 car
Humber Street C2 credit card
{J Loan repayment
Q Suppliers or vendors
Cay Sate ZIP Code C2 other
$ $ Oo Mortgage
Crechtor’s Name
] car
iimber Street CY credit card
OD) tean repayment
Q Suppliers of vendors
a Slate ZP Code O) other
$ $ (3 Mortgage
Creddor's Nama
Oca
Number Street C1 credit card
© Lean repayment
Q Suppliers or vendors
hy State ZF Code CF other

Official Form 107 Statement of Financial Affalrs for Individuals Fiitng for Bankruptcy page 3

 

 

 

 

 

 

 
Case18-17091-EEB Doc#'1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page130f59.

Debtor 1 Brandon Michael Mekay Case number (##zenn},
Feet Hane Vidde Hane Last Hama

7%. Within 1 year bofore you filed for bankruptcy, did you make a payment on 2 debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general pariner,
corporations of which you are an officer, direcfor, person in control, or owner of 20% or more of their voling securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

[ai No
(S, Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

Dates of Total amount . Amount you still Reason for this payment
payment - pald * owe a! arn :
$ $
insider's Name
Number Street
{
Cay Site ZIP Coda i
3 $
lasider’s Hame
Humber Street
Cay Slate ZIP Code

 

' 8, Within 1 year before you filed for bankruptey, did you make any payments or transfer any property on account of a debt that benefited
an Insider?
Include payments on debts guaranteed or cosigned by an insider.

[VAINo

CE Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

 

 

Datesof ‘Total amount _ Amountyou still, Reason for this payment

payment = pald = owe Include creditor's name
Insider's Namie $. $ i
Number Street

!
City State ZIP Code
$ $

Insider's Name
Humber Street
Cty Stata ZIP Code

Official Form 107 Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 4

 

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 page of 59

Debtor 4 Brandon Michael Mckay Case number tins
Fret hiane Midsde ame Lest Ham

Identify Legal Actions, Repossessions, and Foreclosures

' 9, Within 1 year before you filed for bankruptcy, were you a party in any lawsult, court actlon, or administrative proceeding? :
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, patemity actions, support or custedy modifications,
and contract disputes.

(Ci; No
[{d! Yes. Fill in the details. -
Nature of the case. aa  gourtoragency Status of the case

J&h Auto Awen Colorado er » Clears “Toa | ( | ) 4 a paca CN hh (Nes Pending
Stol Tek otoon OD Bek BS_ 1 on apnea

BN rm Street” O Conciuded

State ZaP Code

 

 

 

 

 

 

Case tite (Cound Name Ql Pending
| Cd On appeal
[Number Street 2 concuded
Case number \ |
\City Slate = ZIP Coda

 

40, Within 4 year before you filed for bankruptcy, was any of your proporty repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

[4 No. Goto tine 11.
{7 Yes. Fillin the infosmation below.

 

 

 

 

 

 

 

 

 

 

Describe the property . a : coe | ob > Date : Valuo of the property
Crecttor’s Hame | —— ee $
iomber Street Explain what happened
1) Property was repossessed.
1 Property was foreclosed.
UO) Property was gamished.
oy Site AP Goda (2 Property was attached, seized, or levied.
Describe the property a Date |. Value of the property
|
: i
_—_—_ $.
cractore Nanve
ianber Steet - eee > - wee eee nee a 7
Explain what happened
U1 Property was repossessed.
C1 Property was foreclosed.
oa sae PCa OO Property was gamished.

© Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page §

 

 

 

 

 

 

 
 Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page15 of 59

Debtor 4 Brandon Michael Mckay Case number (etnomn,
Fret Hane Midde Mare fast Name

: 44. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financlal institution, set off any amounts from your

accounts or refuse to make a payment because you owed a debt?
i No

C2 Yes. Fill in the details.

 

 

 

 

 

 

Describe the action the creditor took anaes Date action _- Amount
We EE ee eT nS A ye pao wastaken |: we
Crediors Name | ,
‘ !
| $
Nunber Street
City State ZIP Code Last 4 digits of account number: XXXX-___

' 42. Within 4 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the bonefit of
craditors, a court-appointed receiver, a custodian, or another official?

[di no

OC) ves

ee Cortain Gifts and Contributions

 

. 43, Within 2 years bofore you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

[i no

C2 Yes. Fill in the details for each gift.

Gitts with a total value of more than $600 Describe the gifts a © wi wip ep! ~ oe Dates you gave ,
perperson (0 FS ioe ad : the gifts — :

 

Person to Whom You Gave the Git

 

 

Humber Street

 

City State ZIP Coda

Parson's relationship to you

 

Gifts with a total value of more than $600 Describe the gifts oo ear 3 * Dates you gave
per person , oo oo i ve _ the gifts

 

Person to Véhom You Gave the Git

 

 

Number = Street

 

erty State ZIP Code

Person's relationship to you

 

Official Form 107 Statement of Financial Affairs for individuats Fiting for Bankruptcy

Value

;

Value

page 8

 

 

 

 

 

 

 
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Debtor 4 Brandon Michael Mckay Case number {#hroun,
First itame Bists Hane Last Heme

44,Within 2 years before you filed for bankruptcy, did you give any gifts er contributions with a total value of more than $600 to any charity?

[YZ No

CU Yes. Fill in the details for each gift or contribution.

 

 

 

 

Gifts or contibutions to charities > ‘Deseribewhat you contributed ST pateyou Value
that total more than $600 as ep k A sik ss Wot ° contributed. - mos
|
i 3
Charity’s Name
| $
I
Hanber Sweet |
Cay Stale ZIP Gods |

Ee Certain Losses

15, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
‘disaster, or gambling?

[Ld] No

(CY; Yes. Fill in the details.

Describe the property you fost and, we Describe any Insurance coverage for the loss a . es Date of your . Value of property
how the loss occurred : Be a toss. “2 Jost a

-.° Include the amount that ingurance has paid, List pending insurance
“, daims on fine 33 of Schedule AB: Properly. 5 .

List Gortaln Payments or Transfers

18, Within 4 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consufted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attomeys, bankcuptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

(i No
[Ci Yes. Fill in the detalts.

 

 

 

 

 

Descrintion and value of any property transforred . - Date payment or Amount of payment
So a transfer was ot
Person Who Was Paid re a Pe + made
Homber  Slreet | 5
| $.
City Siate ZIP Code |
i
Ema or websie address

 

 

i

Person Who Made the Payment, if Not You :

Official Form 107 Statement of Financial Affalre for Individuals Fillng for Bankruptcy page 7

 

 

 

 

 

 

 
“Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page17 of 59 _

 

 

 

 

 

 

 

 

 

Debtor 4 Brandon Michael Mekay Case number itoosn)
Fist tiana Vidde Hane bast Hane
Description and value of any property transferred nate payment or  Amountof
wy ee on eben transfer was made payment

|

Person Who Was Paid :
| $

Nunber Steet
$

! |

Cty Sate aPCode | |

|

Emai or website address '

|

Person Who Mada the Payment, if Not You

47. Within 4 year befora you fited for bankruptcy, did you er anyone else acting on your behalf pay or transfer any property fo anyons who
promised to help you dea! with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Ano

C2 Yes. Fillin the details.

 

 

 

 

Description and vatue of any property transferred 2 Date payment or Amount of payment
pe Ears a a ransfer was orgs ee os
, mado
Person Who Was Paid |
: |
Runber Street ee 3
! |
| $
Cy Stale ZIP Code |

 

- 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a securily interest or mortgage on your property).

Do not include gifis and transfers that you have already ilsted on this statement.

[dino

(Cli ves. Fill in the details.

Description and value of property . Describe any property or paymonts received Date transfer
wansferred- Coe Do or debts pald In exchange a : was made

 

Person Whe Received Transfer

 

Humber Street

 

 

City State 2P Code

Person's refationsiip fo you

 

Person Who Received Transfer

 

Humber Street

 

 

City Stale ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page &

 

 

 

 

 

 

 

 

 

 
~ Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page18 of 59

Dettor 4 Brandon Michael Mckay Case number (#inonn))
Fret Bane Midte Name Last Hane

. 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

[i No

QJ Yes. Fill in the details.

Description and value of the property transferred Moet ae - . Cok Date transfor
Pe EE Se OS a ports “3 was made

 

i
|
Name of trust : |
|
|

lay List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held In your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, cradit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial Institutions.

id ito

(CF ves. Fill in the details.

 

 

 

 

 

 

 

 

Last 4 digits of account number - Type of account or 2” Date account was Last balance before
Cae instument ../°).\. - closed, sold,moved, , closing or transfer
a ortransferred =
N f Financia! Institutfo
=~ mn " AXXR- (J checking $
Number Street Cl savings
G3 Money market
Q Brokerage
City State ZIP Code CO other
XXXX-_ Ql Checking _ $
Hame of Financlal Institution
Q Savings
Number Street (2) Money market
QO Brokerage
C3 other
City State ZIP Coda

21. Do you now have, or did you fave within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
[1 tto
|Cd) Yes. Fill in the details.

 

 

 

 

 

 

 

 

Who else had access to it? oo *. Describe the contents / \. Do you still
, Ce : “have Ht?
|
‘(No
Name of Financial institution fame OQ Yes
i
Humber Street Number Street
i
|
City State Zp Code |
|

Chy State ZIP Code

Offical Form 107 Statement of Financial Affaire for Individuals Filing for Bankruptcy page 9

 

 

 

 

 

 

 

     

 

 

 
~” Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page19 of 59

Debtor 4 Brandon Michael Mckay Cage number (i040)
First heme Midte Hane bast Name

22,Have you stored property In a storage unit or place other than your home within 1 year before you filed for bankruptcy?
a: No
C} Yes. Fill in the detalts.

 

 

Who else has orhad access to ft? Describe the contents ; . Bo you still
|
| | CENo
Hanve of Storage Facliity ame | | CF Yes
Humber Street Humber Street

 

1
|
|
CityState ZIP Code i
|
|

 

City State ZIP Code

Identify Property You Hold or Contro! for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold In trust for someone.
[Wd No
[Cl] Yes. Fill in the detaite.

 

 

 

 

 

 

 

 

Where is the property? - sDescribotha property =. | Value
Owner's Name $
Number Street
Humber Street
I
lata ZIP Code
Cily Sule apcom «= OY Po ; a

 

Give Details About Environmental information

 

For the purpose of Part 10, the following definitions apply:

. & Environmental faw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or maforial into the alr, land, soll, surface water, groundwater, or other medium,
Including statutes or regulations controlling the cleanup of thase substances, wastes, or material.

Rn Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize It or used to own, operate, or utilize It, Including disposal sites.

. B Hazardous material means anything an environmental flaw defines as a hazardous waste, hazardous substance, toxic
aubstance, hazardous material, pollutant, contaminant, or s{mltar term.

_ Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

: 24.Has any governmental unlit notified you that you may be flable or potentially lable under or In violation of an environmental law?

Wi ko

CE Yes. Fiil In the detatfs.

 

 

Governmental unit Environmental law, If you know it Date of notice
L
Hans of site Governmental unit |
Humber Street Humber Street °
City State ZIP Code

 

 

Chy State ZIP Code

Official Form 107 Statement of Financlal Affalrs for Individuals Filing for Bankruptcy page 10

 

 

 

 

 

   

 

 
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Debtor 4 Brandon Michael Mckay Case number (#inosny
Fret ams Bite Hane Leal Heme

25, Have you notified any governmental unit of any release of hazardous material?

{4 No

(C2 Yes. Fill In the details.

 

 

 

Governmental unit 9.0 Environmental taw, fyouknow it |< i... < Date of netice
|
Hame of site Govemnratal unit
Number Street Number Street
City State ZIP Code

 

City State = IP Code

28, Have you been a party In any judicial or administrative proceeding under any environmental law? Include settlements and orders.

i No

OQ Yes. Fill in the detatis.

 

 

Courtoragency -. 0°... °°) Natureofthecase - Status of the
Case tlle
ee C} Pending
LI on appeal
Humber Street CI conctuded
Case number tty State ZIP Code

Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
O) Asola proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

C) Amember of a iimited Hability company (LLC) or limited Ilability partnership (LLP)

Oa partner In a partnership

CQ) An officer, director, or managing oxecutive of a corporation

0 An owner of at least 6% of the voting or equity securities of a corporation

[ral No. None of the above applies. Go to Part 12.
[i ves. Check all that apply above and fill in the detalls below for each business.

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the nature of the business a oo) Empfoyer identification sumber . - : a
Business Name pou ce an. Do not Include Social Security number or ITIN.
(BIND oe
Humber Street : oe . . ce! .
Name of accountant or bookkeeper , Dates business existed
| From To
City Stale ZIP Code a. Se obo,
Describe the nature ofthebusiness == Employer ldentification number =
eS mo ot Do not Include Social Security number or ITN.
Business Name :
|
; BIN; 0
Number Street eee btn cae ecaneene eee ante ae cane ced an . , :
Name of accountant or bookkeeper a , ' Dates business existed -
|
| From _ To
City State ZIP Code : '

Official Form 107 Statement of Financial Affalre for Individuals Filing for Bankruptcy page 11

 

 

 

 

 

 

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page21 of 59

Debtor 4 Brandon Michael Mckay Case number (i srown)
Fret?éame Midge Nate Last Hera

 

 

Describe the nature of the business - - Employer Identification number /.-- :
en _ Do not include Social Security number or ITN.

f

|

 

Business Name |
| EIN; ss =

 

 

 

 

 

Number Street Namie of accountant or bookkeeper “7 """ "" Qates business existed
| i
! | From To
City Stata ZIP Code |
|

 

28. Within 2 years before you filed for bankruptcy, did you give a financlal statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

(ai No

(C} Yes. Fill in the dotails betow.

Date Issued

 

 

 

 

Nama MMT DDIYYYY
Humber Street
City State ZIP Code

| have read the answors on this Statemey of Financial Affairs and any attachments, and | declare under penalty of perjury that the

x

Signature of Debtor 2

 

Date
Did you attach/additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107}?

Il No

QO Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
] No

Q) Yes. Name of person, . Alfach the Bankruptcy Petilion Preparer’s Notice,
Dediaration, and Signature (Official Form 119).

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 

 

 

 

 

 

     

 

 

 
~” Gase18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page22 of 59

Fill in this information ir races rel Petes

      
      
     

   

Debtor 4 Brandon Michael Mckay

FirstName Midte Hae tast Hana

r

FILED ‘
KENNETH S, GARDNER, CLER;
Wie AUG tu PP 3 Ob

US. BANKRUPTCY COUR Check if this is an
DISTRICT OF COLORAGOamended filing

 
 
 
 

Debtor 2
(Spouse, if fing) First Hane Wisse Mame lastiams

 

United States Bankruptcy Court for the: District of COLORADO

  

 
   

Case number

 

Of keoand

 

Official Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical Information = 12/16

 

Be as complete and accurate as posalble, If two marred people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules firet; then complate the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own - -
4. Schedule A/B: Property (Official Form 406A/B)
ia. Copy line 55, Total real estate, from Schedule A/B.....ccsensssscrnsscsnrennecsarrecsenssensesanennnreneesnstere et testeAMM NAA AMe TEN eTeE en $_0
1b. Copy line 62, Total personal property, fom ScHEdUIC ALB ...escssrrssncccssssessssmatnecrsnssearrinessictsnnsarersanenanernasrecarcsenssaanieiees s 6590
4c. Copy line 63, Total of all property on Schedule AVB os ssesssssresssseesesseeceonitacswenessanenensnntee etree ete eee tet ae $_ 6590

 

 

 

i Summarize Your Liabilities

Your Habilities

 

 

 

 

 

Amount you owe

2, Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a, Copy the fotal you listed in Column A, Amount of claim, al the bottom of the jast page of Part 1 of Schedule D..........- $0.
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total ctalms from Part 1 (priority unsecured claims) from line Ge Of SCHED OG EMF wssccccscteceeesrersnesssstseeerenrenene $ 24900

3b, Copy the total claims from Part 2 (nonpriorily unsecured claims) from line 6] Of Sehedtle EAP. .ecccserreeccssssessnerresnearets + § 44270

Your total liabilities gs 69170
Summarize Your Income and Expenses

4. Schedule i Your Income (Official Form 1061)

Copy your combined monthly Incame from line 12 Of SCHEDULE La.essessseentenessemeitssarinenennnnetuannnnneeneeiiin $_1767
5. Schedule J: Your Expenses (Official Form 166.)

Copy your monthly expenses from line 22¢ of Schedule J ...ccsssssssssensernarsmeerissetnsssusorannssnntrssecrnacerntenarsineneneares $__2395

 

 

Official Form 1065um Summary of Your Assets and Liabifitles and Certain Statistical Information page 1 of 2

 

 

 
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Debtor 1 Brandon Michael Mekay Case number (¢snesn)
Fint tens Mictis Hate Last Hare

Ea Answer These Questions for Administrative and Statistical Records

 

6. Are you fillng for bankruptcy under Chapters 7, 11, 07 137

(ve You have nothing to report on this part of the form. Check this box and submit this form to the coud with your olher schedutes.
¥ jes

7. What kind of debt do you have?
(divour debts are primarily consumer dabts. Consumer debls are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

(co Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedutes.

 

8 From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 1224-4 Line 14; OR, Form 122B Line 14; OR, Form 122C-1 Line 14. ¢ 2000

 

 

 

9. Copy the following spectal categories of claims from Part 4, line 6 of Schedule E/F.

Total claim . nosy

 

 

 

 

 

 

From Pert on Schedule E/, copy the following:
9a, Domestic support obligations (Copy line 6a.} $_0
9b. Taxes and certain other debfs you owe the government. (Copy line 6b.) 3_0
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0
$d. Student loans. (Copy line 6f) $__0
9e. Obligations arising out of a separation agreement or divorce that you did not report as s 0
priority claims. (Copy fine 6g.)
Of. Debts to pension or profit-sharing pians, and other similar debts. (Copy line 6h.) +$ 0
9g. Total, Add fines 9a through 9F. $_0 —_— |

 

 

 

Official Form 1406Sum Summary of Your Assets and Liabilities and Certaln Statistical Information page 2 of 2

 

 

 

 
Case:18-17091-EEB Doc#:1 Eiled:08/14/18 Entered:08/15/18 15:21:10 Page24 of 59

‘Fill in this information to identify your case and this filing:

    

  

Dedior i _Brandon Michael Mckay
Fret hare Mika Mame Last Fanta

     
   
 
   

 

FILED
KENNETH S. GARDNER, CLER:

‘f

   

 

Debtor 2 ‘
(Spouse, ¢ fing) Fret lane Waste Hane Last Name:
United States Bankruptcy Court for the: Distict of COLORADO iis AUG |W 2 Ob

     
 

U.S, BANKRUPTCY COURT
DISTRICT OF SOCtRA Mithis is an

amended filing

Case number

 

 

Official Form 106A/B

 

Schedule A/B: Property 42/16

In each category, separately list and describe items. List an asset only once. if an asset fits In move than one category, list the asset in the
catagory where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct Information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Coo Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest in

: 4, Do you own or have any legal or equitable interest In any residence, bultding, land, or similar property?

(id No. Go to Part 2.
(Cd Yes, Where is the property?

 

 

 

 

 

 

 

What Is the property? Check all that apply. Do not deduct secured efaims of exemptions. Pu
Q) Single-famity home the a amount of any secured daims on Schedule D:
44. i-unit buitdi reditors Who Have Claims Secured by Property.
Street address, if avaiable, or other description 4 Duplex of multi-unit Building oO , : -
Condominium or cooperative Current value of the Current value of the |
CJ Manufactured or mobile home ontire property? portion you own?
C2 tang $ $
1) investment property
- O timeshare Deseribe the nature of your ownership
City State ZIP Code O oth Interest (auch as fee simple, tenancy by
er the entizeties, or a life estate), f known.
Who fas an Interest in the property? Check one.
(2 Debtor 1 only
County CI debtor 2 only
(0 Debtor 4 and Debtor 2 only C] check if this fe community property

C) Atleast ong of te debtors and another {see instructions)

Other information you wish to add about this item, such as locat
property identification number:

 

If you own or have more than one, list here:

 

 

 

 

 

 

 

What Is the property? Check all that apply. Do not deduct secured calms ore | fi ne. Put
t Single-family home the amount of any secured claims on Schedufe D:
42. 7, , Creditors Who Have Claims Secured by Properly. —
Siredl address, W available, or olher description O) Buptex of multi-unit building Ces eee :
(1 Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
(J Land $ $
CI Investment property ib
Describe the nature of your ownership
City State ZIP Code 4 Thneshare interest (such as feo simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an Interest In the property? Check one.
CO Debtor 4 only
County C] Debtor 2 only
(2 Debtor 4 and Debtor 2 only (} check if this Is community property
£.) Atteast one of the debtors and another {ses instructions)

Other Information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AIB: Property page 1

 

 

 

 

 

 

 

 

 
~~ Cage:18-17091-EEB Doc#1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page25 of 59

Brandon Michael
Frat Mare iste Hane

Debtor 1
Last ame

1.3.

 

Street address, if available, or olher description

 

 

 

Mekay

What Is the property? Check all (hat apply.
CI Singte-famity home

© duplex or mutti-unit buitding

1) Condominium or cooperative

 

Case number (ficcan]

Go not deduct secured claims or exemptions, Put
tha amount of any secured daims on Schedule D: |.
Creditors Who Have Clalms Secured by Property.

Current value of the Currant value of the -

 

 

 

 

 

entire pro ? ortion you own?
CO Manufactured or mobile home re property portony "
1 Land $ $
L) Investment property h ,;
: Describe the nature of your ownership
Stat ZIP Cod
City ° ° 5 Timeshare Interest (such as fee simple, tenancy by
Olher the entireties, or a ilfe estate), if known.
Who has an interest in the property? Check one.
(4 Debtor 1 only
County © debtor 2 only
CO) Debtor 1 and Debtor 2 only C) check if this [s community property
1 At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 4, Including any entries for pages 3 0
you have attached for Part 1. Write that muMmbOr MOLO, .......ssscsscssesseeererecnentstscanienerensnearene ete eta te CARTERET EAE e®

Ee Bescribe Your Vehicles

 

 

 

Do you own, lease, or have iega! or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles

‘ you own that someone else drives. If you lease a vehicie, also report it on Schedule G: Executory Con

4. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

ja) No
[aves

3.1. Make: Ford
Model: F-350
Year. 1997
360,000

Approximate mileage:
Other information:
My Truck

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:

Year:

 

Approximate mileage:

_

Other information:

=

Official Form 408A/B

Who has an Interest in the property? Check one.

1 Debtor 4 only

C2) pebtor 2 only

(1 Debtor 4 and Debtor 2 only

(1 Atleast one of the debtors and another

(] Cheek If this Is community property (see
instructions)

Who has an Interest in the property? Check one.

0 Debtor 4 onty

(J Debtor 2 only

( debtor 4 and Debtor 2 only

CA At least one of the debtors and another

(i Check If this Is community property (see
instructions)

Schedule A/B: Property

tracts and Unexpired Leases.

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

§ 900 $900

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

 

 

 

 
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Debtor 1 Brandon Michael Mekay Case number (an04n)
Fret tian Lidia Hamre Last Name
3.3, Make: Who has an interest jn the property? Check one.
Modet: [C1 Debtor 4 onty
LD Debtor 2 onty
Year: 4

Approximate mileage:
Other information:

LY Debtor 1 and Debtor 2 only
Cat teast one of the debtors and another

 

 

CJ Check if this is community property (see
instructions)

 

 

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

Who has an Interest in the property? Check ona.

lo Debtor 4 only

(=) Debtor 2 only

0: Debtor 1 and Debtor 2 only

(1 At teast one of the debtors and another

  
  

 

 

CJ Check if this Is community property (see
instructions}

 

 

 

Do not deduct secured claims or exemptions. Put
ihe amount of any secured claims on Schedule D:
Creditors Who Have Clalms Secured by Property.

Currant value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put | :
the amount of any secured daims on Schedule D:
Creditors Whe Have Claims Secured by Property.

Current value ofthe Current vaiue of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exaniples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmoblles, motorcycle accessories

(a No
fUlll ves

4.4. Make:
Model:
Year.
Other information:

Who has an Interest in the property? Check one.

C1 Debtor 4 only

(2 Debtor 2 onty

(CE Debtor 1 and Debtor 2 only

CI At teast one of the debtors and another

 

 

(J check if this [s community property (see
instructions)

 

 

If you own or have more than one, fist here:

4.2, Make:
Model:
Year.
Other information:

Who has an Interest In the property? Check one.

€) Debtor 1 only

C] Debtor 2 only

€) bebtor i and Debtor 2 onty

() Atleast one of the debtors and another

 

 

C) Check ff this Is community property (see
instructions)

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
, you have attached for Part 2. Write that number here

Official Form 186A/B

Schedule A/B: Property

Do not deducl secured claims or exemptions, Put
the amount of any secured daims on Schedule D:
Creditors Who Have Claims Secured by Property. .

Current value of the Current value of the |
entire property? portion you own?

Do not deduct secured daims or exemptions. Put
ihe amount of any secured caims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of tha = Current value of the ©
entire property? portion you own?

 

 

 

 

 

 

 

 

 

 

 

 

 
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Debtor 4 Brandon Michael Mchay Case number {etnany
Fret amet Misia Kame Last Name

Describe Your Personal and Household Items

ne Gurrent value of the
"Do you own or have any legal or equitable Interestin any of the following ems? OP ortion you own?
: woe we Cel! nha os, Do not deduct secured claims
of exemptions. . cE
. 6 Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

[C2 No

[41 Yes. Describe.........

Bedroom Set - With Me

$ 200

 

 

. 7. Electronics

Examples: Telavisions and radios: audio, video, stereo, and digital equipment, computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

la’ No ence pitting wtuauameinince age Anime EAE REBEL RR A
[{A ves. Descrie........) Cell Phone - With Me |

 

 

- 8, Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

a No ccm epi nanimantnutiegnnete ai ene A a IRA AE NE ES
{Cd Yes. Describe.........

 

- 9 Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

 

 

 

 

 

 

 

ING Yes. Describe........ Drawing Tablets And Pencils - With M | $200
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No scvumiey eee eee emma esc penguins tn nin aeons mesma
fU ves. Desctbe | $
' 41, Clothes
Examples: Everyday clothes, furs, leather coals, designer wear, shoes, accessories
[Ol No reece ets ancien nnn nenmpean ese summon a
[4 ves. Deseo My Clothes - My Residence | 5 200
” 42, Jewelry
: Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, helrioom jewelry, watches, gems,
gold, silver
[Oli ves. DesehibO. end | $
"43, Non-farm animals
Examples: Dogs, cats, birds, horses
fo No ect iy nian anencn nna en A RR A AERA SE At
0 Yes. Describe. 2 Female Basseft Hounds - With Me | $100
14. Any other personal and household Items you did not already list, including any health alds you did not list
[l¥es. Give specific | Cone And Loveseat - At Home g 500 _—_—
information, .........-+ emesis nimrninanennie een sien em nnn amuse
46, Add the dollar value of all of your entries from Part 3, Including any entries for pages you have attached $ 1520
for Part 3, Write that nUMBEr HOO ...scnecsesusssseesneserastnternnnsnseneasteaeiannseneniieasanniaieeentnniterntees ee eet4 >
Official Form 108A/B Schedule A/B: Property page 4

 

   

 
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Debtor 1 Brandon Michael Mckay Case number ceinonny
First Hane Vide Hana Last Hare

Port 4: Your Financial Assets

 

Do you own or have any legal or equitable intrest inany ofthefollowing?. = Current value of the
ma SoD rrr os : Pee, : fey Yb : portion you own?
* Bo not deduct secured daims
or exemptions.

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

1 No

: Yes duevenavnenseuesenenansenessenevendssenesAted¥etes4d ese 14 CEEEGSUALELOULEDAIAEOH UOTEELUAMLELARICUTIORTCEOESIRNEALTEAE CTE ALLE IED GESEY, cescocserseseeceereeese $ 30

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other simitar institutions. if you have multiple accounts with the same institution, fist each.
[Zi no

fo VOS veereessssssrseeae Institution name:

17.1. Checking account:

 

17.2. Checking account:

 

17.3. Savings account

 

417.4. Savings account:

 

47.5. Cerlificates of deposit:

 

17.6. Other financial account

 

wm Ff fF fF TF

Hil

47.7. Other financial account:

 

17.8, Other financial account:

 

17.9. Other financia! account

 

48.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

a No

fl YOS nerccsersssere Institution of Issuer name:

hd

 

 

49. Non-publicly traded stock and interests In incorporated and unincorporated businesses, Including an Interest in
an LLC, partnership, and joint venture

Fra) No Name of entity: % of ownership:

(a Yes. Give specific %
information about
THOM osecseetsssesesceen %

%

 

tt

Official Form 106A/B Schedute AIB: Property

 

 

 

 

 

   

 

 

 
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randon Michael

B Case number titr01n]
Fest Hare Lidte Hama

Debtor 4 Mckay
Last Hame

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negoliable instruments are those you cannot transfer to someone by signing or delivering them.

Wino

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[Clives. Give specific Issuer name:
information about
ANON. erseccressenes $
S$
21, Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401{k}, 403(b), thrift savings accounts, or other pension or profit-sharing plans
i No
(a! Yes. List each
account separately. Type of account Institution name:
404(k) of similar plan: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
‘ Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (elockic, gas, water), telecommunications
companies, or others
(4, No
{CJ VOS oececsscsseesesstcenens Institution name or individual:
Electric: $ ie
Gas: $
Heating off: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water. $e
Rented fumiture: $
Other: $
: 23. Annulties (A contract for a periodic payment of money to you, elther for life or for a number of years)
[No
{a YOS vecccseeessecssseneceeree Issuer name and description:
$
$
$

 

Official Form 106A/B

Schedule A/B: Property

 

 
“Case:18-17091-EEB Doc#:i Filed:08/14/18 Entered:08/15/18 15:21:10 Pagesoof59

Debtor + Brandon Michael Mckay Case number gainoan)
Fret Name Mista Hame Last Hane

24 Interests In an education JRA, in an account in a qualified ABLE program, or under a qualified state tultion program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

FD Ves oe ennernnennntnnn Institution name and description. Separately fife the records of any interests.11 U.S.C. § 521(c):

 

 

 

_ 25, Trusts, equitable or future interests In property {other than anything listed in line 1), and rights or powers
axercisable for your benefit

fol Yes. Give specific
information about them...

 

26. Patents, copyrights, trademarke, trade secrets, and other intellectual property
Examples: Intemet domain names, websites, proceeds from royalties and licansing agreements

[Cl ves. Give specific
information about them....

 

27. Licenses, franchises, and other general Intangibles
Examples: Buiding permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

fa Yes. Give specific :
information about them....

 

F
Money or property owed to you? EE ee a ke bee a ars _Gurrent value of the
oe Poi St ot ae “7. 5" “portion you own? >

Do not deduct secured
claims of exemptions.

 

28. Tax refunds owed to you

[Oo Yes. Give specific information
= . ederal:
about them, including whether Fedesah $______—_
you already filed the returns State:
and the fax YOArS. .csscccesererce ssc Local

' 26. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settiement, property setilement

[Zi No

[a Yes. Give specific information.............. EEE
Alimony:

Maintenance:
Support:

Divorce seltiement:
Property settlement:

 

|

 

. 30. Other amounts someone owes you
Exampies: Unpaid wages, disabitity insurance payments, disability benefits, sick pay, vacalion pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone alse
A No

{Ul ves. Give specific information. ......- re

Official Form 408A/B Schedule A/B: Property page 7

 

 

     
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Debtor 1 Brandon Michael Mckay Case number (¢ir<uny
Frstitams Midge Herre Last Mame

34. Interests in insurance policies
Examples: Heatth, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

[Zi no

[UI Yes. Name the insurance company =— Company name: Beneficlary: Surcender of refund value:
of each policy and list its value. ...

 

 

 

 

39, Any Interest in property that fs due you from someone who has dled
If you are the beneficiary of a fiving trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

{O Yes. Give specific information... |

33, Claims against third parties, whether or not you have fited a lawsuit or made a demand for payment
Examplas: Accidents, employment disputes, insurance claims, or rights fo sue

{Cy} Yes, Describe each Clalit. ..cresesneseree

* 34. Other contingent and unliquidated claims of evary nature, including counterclaims of the debtor and rights
to set off claims

[ET Yes. Describe e2ch ChalM. senses |

35. Any financial assets you did not already Ist

(C2 Yes. Give specific information.........

 

30

 

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

' 37.Do you own or have any legal or equitable Interest in any business-related property?

[UO No. Go to Part 6.

fa Yes. Go to line 38. .
Current value of the

portion you own? i
Do not deduct secured daims
or exemptions. ne
38. Accounts receivable or commissions you already earned
[Zi tio ce
ja Yes. Describe.....J
| Se >——__——_——

: 39. Office equipment, furnishings, and supplies
: Examples: Business-refated computers, software, modems, printers, copiers, fax machines, ngs, telephones, desks, chairs, electronic devices

ia) Yas. Describe...... $
.

Offidal Form 1G06A/B Schedule AJB; Property page 8

 

 

 

   

 

 

 
 

 

 

 
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Debtor 1 Brandon Michael Nckay Case number (roan)
First ame Mibde Hans Last Hana

 

 

_ 40.Machinery, fixtures, equipment, supplies you use In business, and tools of your trade
[C1 No ee
[a Yes. Describe..... | Trailer Shared Owner - My Residence

: 41, Inventory
[Ld Yes. Deseribe..... |

' 42 Interests in partnerships or Joint veritures

[ai No

(Ct: Yes. Describe... Name of entity: % of ownership:
%
hd $
%

 

 

 

 

“ stomer lIsts, mailing liste, or other compilations

: No

(oy Yes. Do your lista Include personally identifiable Information (as defined in 14 U.S.C. § 101(41A))?
la No 7
[CY Yes. Describe.......

. 44, ea business-related property you did not already list
iNo

ja Yes. Give specific $

information .........

 

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 640
for Part 5. Write that number HePO .....-.cccsesreneessunenannnaniemeesantanineann ttt ETS >

 

 

 

Describe Any Farm- and Commarclal Fishing-Related Property You Own or Have an interest in.
If you own or have an Interest in farmiand, list it In Part 1.

 

: 46,Do you own or have any legal or equitable Interest in any farm- or commarelal fishing-related property?
lo No. Go to Part 7.
[{ Yes. Go to fine 47.

Current value of the
portion you own?

Do not deduct secured dalms
: of exemptions. uo
47, Farm animals
Examples: Livestock, poullry, fa m-raised fish
{ ‘i No
POU Ves ie cececssinerie
S$

Offidal Form +06A/B Schedule A/B: Property page 9

 

 

 

 
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Debtor 4 Brandon Michael Mckay Case number ttican,
Fret ame Mids Hana Last Hame

_ 48.Crops—elther growing oF harvested
[Zi no

jo Yes. Give specific

information.........-.-.

 

(49. ‘an and fishing equipment, implements, machinery, fixtures, and tools of trade
. I No
t

nf

- 60,Farm and fishing supplies, chemicals, and feed

 

 

( ~ — a ~ - -
- ene a Se a er cesta ec acer are ee EO eee ET ere ce SO Tam —- —- — —. — —- _ 3
51, Any farm- and commercial fishing-related property you did not already Ilst
la No _ -
(Ud ves. Give specific
information... $
: 62. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 3500
for Part @. Write that NUMBEr NOTE ...nnernnnrnnenmneeiinnnanntinme it ETE > a

 

 

eae Poser All Property You Own or Have an Interest In That You Did Not List Above

. 53, Do you have other property of any Kind you did not already lst?
: Examples: Season tickets, country dub membership

4 Medtronic insulin P -OnM
(tai Yes. Give specific edfronie Insulin Pump - On Me $3500
information. ........s $

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that mummtar Hare ..sccceceseresseneeretenetterttcntrenne >

 

 

ee the Totals of Each Part of this Form

- §6.Part 4: Total real estate, HNO 2 nvnnnnrnnsnnnneninsinininnenanannnnsnnnsnsnnnin ETS > §$

 

} 56, Part 2: Totaf vehicles, Ine 5
| 57. Part 3: Total personal and household items, line 16
" 68. Part 4: Total financial assets, line 36
59. Part 6: Total business-related property, ine 45
60. Part 8: Total farm- and fishing-related property, line 62

_ 61.Part 7: Total other property not listed, line 54

62. Total personal property. Add lines 56 through 61. -.ssecmrrnweer g 9590

 

 

Copy personal properly total > “F

 

 

" 93. Total of all property on Schedule AUB, Add file 5S + Lie G2. ...scesssecrccsseessesssnneersesnearssetenasennnssnnres teens greet erent $ 6590

 

 

Offical Form 106A/B Schedule AIB: Property page 10

 

 

 

 

 

 

 

 

 

 

 
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Attachment To Schedule BB: Item 07 - Blectronica

Description: Flat Screen Tv - With Me

 

 

 

 

 

 

 

 

 

 

 
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PTT erty Peers ae we

randon Michael

Debtor 4 B
Frit Hane Midi Kare Lest Hane

Debtor 2
(Spouse, if fling) Fret Hace Last Hane

 

United States Bankruptcy Court for the: Distict of COLORADO

Case number QO) Check if this is an
{ff known} amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 046

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct Information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/8) as your source, list the property that you claim as exempt. Hf more
space is needed, fill out and altach to thls page as many copies of Part 2: Additional Page as necessary. On the top of any addilional pages, write
your name and case number (if known).

 

For each item of property you clafm as exempt, you must specify the amount of the exemption you claim. One way of doing so Is to state a
specific dollar amount as exempt. Alternatively, you may clalm the full fair market value of the property being exempted up to the amount
of any appilcable statutory Ilmit. Some exemptlons—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be uniimited in dolfar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property Is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

ia Identify the Property You Claim as Exempt

1. Which set of exemptions ara you claiming? Check one only, even if your spouse is filing with you.

QO) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CO) You are claiming federai exemptions. 14 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you clalm as oxempt, fill In the information below,

Brief description of the property andlineon Current value ofthe = Amount of the exemption you claim _ Specific faws that allow exemption

 

 

 

 

 

Schedule A/B that lists this property *, portion you own ee
me ae Copy the value from Check only one box for each exemplion...
Schedule AB Poppa es es
Brief My Truck 13-54-102(j)(i), Gi);
description: $900 Os
Line from £4) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
My Clothes
Brief kA. .
description, ©. 8.200 Os
Line from (4 100% of fair market vatue, up to
Schedule AB: any applicable statutory limit
. Emergency Cash
Brief “Ad. ,
daseription: $30 Os 13-54-1020);
Line from (4 100% of fair market value, up to
Sehedule AB: any applicable statutory fimit

3. Are you clalming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and avery 3 years after that for cases filed on or after the date of adjustment.)

(@ No
Q) Yes. Did you acquire the property covered by the exemption within 1,215 days before you fifed this case?

(3 No
QC) yes

Official Form 106C. Schedule C: The Property You Clalm as Exempt page 1 of __

 

 

 

 

 

 
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Case number (#tnoan},

 

 

 

Check only one box for each exemption

 

Gd 100% of fair market vatue, up fo

 

 

id 100% of fair market value, up to

 

Gd 100% of fair markel value, up to
any applicable statutory limit

 

{4 100% of fair market value, up to

 

 

(2 100% of fair market value, up to
any applicable statutory timit

 

a 100% of fair market value, up to
any applicable statutory limit

 

Q) 100% of fair market value, up to

 

Cl 100% of fair market value, up to

 

1) 100% of fair market value, up fo
any applicable statutory limit

 

C2 100% of fair market value, up to
any applicable statutory limit

 

(C3 160% of fair market value, up to

 

(J 100% of fair market value, up to

Debtor 1 Brandon Michael Mekay
Frat tiame Midate Hama Last Hare
ca Additional Page
‘Brief description of the property andiine Current value of the “Amount of the exemption you claim
on Schedule A/B that lists thls property. portion you own Peieiehe bh Doe Bs
cet Copy the value from
: ‘Schedule NB
Trailer Shared Owner
Brief
description: $1200 Os
Sorotule AB: any applicable statutory fimit
Brief Medtronic Insulin Pump 3500
description: $ (ls
Line from a
Schedule AB: ——— any applicable statutory limit
Brief Bedroom Set 200
description: $ ils
Line from
Schedule AB: —____
- Flat Screen Ty
Brief 300
description: $ Os
Line from : :
Schedule AB: any applicable statutory limit
Small Craftsman Tool
Brief 40
description, Cabinet 3. Os
Line from
Schedule AB:
Brief Couch And Loveseat
description: $ 500 Os
Line from
Schedule AB:
Brief
description: $ Os
Sofediula AB: any applicable statutory limit
Brief
description: $ Os
Seo AB —— any applicable statutory iimit
Brief
description: §. Os
Line from
Schedule AB:
Brief
description: 5 Us
Line from
Schedule A‘B:
Brief
description: $ Os
Line from ae
Schedule AB: ——— any applicable statutory limit
Brief
description: 3 Cis
Line from

Schedule AB:

Official Form 106C

any applicable statutory limit

Schedule C: The Property You Claim as Exempt

- "Specific laws that allow exemption

7-60-125;

13-54-102(D(e);

13-54-102(1)(e);

13-54-102(1}(e):

 

13-54-102(1 ie):

 

page___ of __

 

 

 

 

 

 

 
Case:18-17091-EEB Doc#1 Filed:08/14/18 | Entered:08/15/18 15:21:10 Page37 of 59

EL cE to ern Se os a arr

Debtor 1

 

Fret Hane

Debtor 2
(Spouse, if fing) Fret Hane

 

Vibe Name

United States Bankruptcy Court for the: District of

 

 

 

Gino) O) check if this is an
amended filing

Official Form 4106D

Schedule D: Creditors Who Have Claims Secured by Property 4216

 

Be as complete and accurate as possible. If fvo married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, filf tout, number the enteles, and attach ff to this form. On the top of any
additional pages, write your name and case number (if known).

4, Do any creditore have clalms secured by your property?
{Qi No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on thls form.
[CE Yes. Fill in all of the information befow.

 

 

 

PEERED Llet att Secured Ciatms

2. List all secured clams. If a creditor has more than one secured claim, list the creditor separatély Amount of eas
‘for each claim. Hmore than one creditor has a particular claim, list the other creditors In Part 2. ng por deduct the |
“As much as possible, fist the claims In alphabetical order according fo the creditor's name. value of collateral.

  
   

‘Gouna ©
> Unsecured ©
“portion 2:
2 Many ec

 

 

  
 

 

 

 

 

 

 

 

 

Describe the property that secures the clalm: $ 3. 3
Creditors Name |
Humber Street
As of the date you fila, the claim is: Check ail that apply.
O) Contingent
EC) unliquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
C] Debtor 1 only (3 An agreement you made (such as mortgage or secured
(2 Debtor 2 only car joan)

(4 Debtor 4 and Debtor 2 only
(J Ailteast one of the debtors and anolher

(J Check if this claim relates to.a

 

Cl Statutory Hien (such as tax lien, mechanic's Hen)
OC Judgment fien from a fawsuil
OU other (including a sight to offset)

 

 

 

 

 

 

 

1 Debtor 1 and Debtor 2 only
CO At feast one of the deblors and another

(3 Check if this claim relates to a
communtty debt

_ Date debt was Incurred __

 

community debt
__.. Date dobt was incurred — _,_Last 4 digits of account MUR GT nn re pe en ntti ogi eminence
| 2.2] . Describe the property that secures the claim: $ $.
Credtor’s Name
Number Street
As of the date you file, the claim Is: Check all that apply.
C) contingent
C) Uniiquidated
Chy State ZIP Code ae | Disputed
Who owes the debt? Check one. Nature of len. Check alf that apply.
OQ) cebtor 1 onty ED An agreement you made (such as mortgage or secured
CI Debtor 2 onty car loan}

1 Statutory Hen (such as tax lien, mechanic's lien)
CE Judgment tien from a lawsuit
O) Other {including a right to offset}

 

 

Last 4 digits of account number. __.. a

 

 

Offidal Form 1086D

Add the dollar value of your entries in Column A on this page. Write that number here: >) e|ttt—S

Schedule D: Creditors Who Have Claims Secured by Property

 

 

 

 

 

 

 

 

 

 

 

 
“Case-18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 Page38 of 59

 
 
      

ae Pee oa te ets Sere ae

    

 

Brandon Michae! Mckay

First Hane Middie Hamme Last Mame

Debtor 1

 

  

 

       

Debtor 2
(Spouse, if fling} First Hane Vidde Hara Last fame

pistiet of COLORADO

 

United States Bankruptcy Court for the:

 

 

    
    

( Check if this is an

Case number amended filing

Of knoan)

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/165

Be as complete and accurate as possible. Use Part 4 for creditors with PRIORITY clalms and Part 2 for creditors with NONPRIORITY claims.
Liat the other party to any executory contracts or unexpired leases that could result in a claim. Also Iiat executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G}. Do not include any
creditors with partially secured clalms that are listed In Schedule D: Creditors Who Have Claims Secured by Property. If more apace Is
needed, copy the Part you need, fill it out, number the entries In tha boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

14. Do any creditors have priority unsecured clalms against you?
INo. Go to Part 2.
Yes.

2. List all of your priority unsecured claims. Ifa creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that daim here and show both priority and
nonpriority amounts. As much as possibte, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of dalm, see the instructions for this form in the instruction booklet.) ee . oe a a a.
Total claim © Priority... ‘Nonprtority
USGS amount amount
2.4
Audrey Dolan Last 4 digits of account number = LOD $15000 $0.
Priority Creditar’s Name
58 Delta Ave When was the debt incurred? _2011
Humber Street
k " As of the date you file, the clalm Is: Check all that apply.
Akron CO 80720 .
tay dise —aiP Gods 1 Contingent
unliquidated
Who incurred the debt? Check ons. OD bisputes
Wi Debtor 1 onty
C1 Debtor 2 only Type of PRIORITY unsecured claim:
a Deblor 1 and Debtor 2 only D Domestic support obligations
At least one of the dettors and another O Taxes and certain other debis you owe the government
C2) cheek if this claim Is fora community debt —()_iaims for death or personal injury while you were
Is the clalm subject to offset? intoxicated oo,
i No (A other. Specity_Frequent Financial Support
Ve eee nt nem ininssinen iin scence
fe2 | David Aud Tina Mckay Last 4 digits of account number
Priority Crechtor’s Name 9 ___. «900. 9 SO TT
347 3rd St When was the debt Incurred? 2012
Number Sueel
As of the date you file, the claim Is: Check aif that apply.
Fort Lupton CO 80621 C1 Contingent
Cy See aipCods (2 unliquidated
Who Incurred the debt? Check one. C1 Disputed
V4 Debtor 1 only Type of PRIORITY unsecured clalm:
LF Debtor 2 only CO Domestic support obligations
O) Debtor 1 and Debtor 2 only UppOF ong
CO Atieast one of the debtors and another UO Taxes and certain other debts you owe the government
Gi check this claim is for ecommunity debt iim for death or preonal fury wile youwsie
Is the claim subject to offset? 6H other. Specify Financial Help Frequently
Wi no
: C2) Yes

 

Official Form 106B/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of___

 

 

 

 

 

 

 

   

 
 

~ Gase:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page39 of 59

Brandon Michael
First Rane Wikia Mane

Mckay

Last Mame

Debtor 1

 

Case number (tiaean},

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After Hleting any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. oes

 

44

 

 

Credit One Bank/ Mem
Honprioity Credkior’s Name

P.o, Box 2121
Number Street

Warren MI 48090

City Siate ZIP Code

Who incurred the debt? Check one.

a Debtor 4 only

O) Debtor 2 only

(J Debtor 1 and Debtor 2 only

(2 Atleast one of the debtors and another

O] Check If this claim is for a community debt
ts the claim subject to offset?

a No
} ves

 

Lq. Data International, Inc
Ronpifority Crecilor's Name

Po Box 2130
Humber Street

Everett WA 98213
City State Zip Code
Who incurred the debt? Check one.

a Debtor 4 only

(3 Debtor 2 only

OC] Debtor + and Debtor 2 only

0 Atleast one of the debiors and another

UO Cheek if this claim is for a community debt
Is the claim subject to offset?

Zi no
C) ves

J&h Auto
Nonprtority Credilos’s Name

301 E Est St
Number Sireet

Akron CO 80720
Cay State ZIP Coda
Who incurred the debt? Check one.

Debtor 1 onty
UO) Debtor 2 only
(} Debtor 4 and Debtor 2 only
{2} At feast one of the debtors and another

OC Check If this claim is for a community debt

Is the claim subject to offset?

4 No
C} ves

 

Official Form 106E/F

Schedule EF: Creditors Who Have Unsecured Claims

otal claim:

Last 4 digits of account number 7862 0 __ $900
When was the debt Incurred? _2013

As of the date you filo, the claim ig: Check all that apply.

EC] Contingent
O) Uniiquidated
Disputed

Type of NONPRIORITY unsecured claim:

EJ Student foans

C1 Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

{2 Debts to pension or profit-sharing plans, and other similar debis

Md other. Specify_Credit Card.

Last 4 digits of account number 1863 ¢ 1106

72011

 

When was the debt incurred?

As of the dato you file, the claim is: Check all that apply.

C1 contingent
(2 Untiquidated
C2 disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

(2) obligations arising out of a separation agreement of divorce that
you did not report as priority claims
O debts to pension of profit-sharing plans, and other similar debts

UW Olher, Specify. Apartment

Last 4 digits of accountnumber_ —S =§_

When was the debt incurred? 4/2017

As of the date you file, the claim Is: Check all that apply.

C1 contingent
2 unliquidated
C] pdisputed

Type of NONPRIORITY unsecured claim:

CQ) Student loans

(2 obligations arising out of a separation agreement or divorce thal
you did not report as priority claims

C2 Debts to pension of profit-sharing plans, and other similar debts

other, Specty_ ‘Truck Parts Claimed Stolen

$1927

 

 

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:09/15/18 15:21:10 “Paged0 of 59

Debtor 1 Brandon Michael Mekay Case number qrinoan
Fist Name Mide tare Lest Hama

Ee ~ the Amounts for Each Type of Unsecured Claim

 

 

 

|

 

 

 

 

 

 

 

 

 

 

' 6, Total the amounts of certain types of unsecured clatms. This information is for statistical reporting purposes only. 28 U.S.C. § 159,
: Add the amounts for each type of unsecured clalm.
Total clalm
Total claime 6a. Domestic support obligations 6a. $0
from Part | -. 6b, Taxes and certain other debts you owe the
government 6b. $ 0
6c. Clalms for death or personal Injury while you were i
Intoxicated Bc.
|
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. +5 24900
8e, Total. Add lines 6a through 6d. 6e.
5 _ 24900
Total claim
Total claims 6f. Student loans 6f. 3 0
_fromPart2 gq. obtigations arieing out of a separation agreement
po or divorce that you did not report as priority
claims 6g. 3 0
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. 6s lO
I. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +s 44270
6j. Total. Add lines 6f through 63. Gj.
$___44270

 

 

 

 

Official Form 408E/F Schedule EJF: Creditors Who Have Unsecured Ciaims page of

 

     

 

 

 
Case:18-17091-EEB Doc#:1 ‘Filed:08/14/18  Entered:08/15/18 15:21:10 Page41 of 59

Mekay

Lestitame

Deblor 1 Brandon Michael

Find Hane Lisi Kame

ean: NONPRIORITY Unsecured Ciaims — Continuation Page

Case number (i izmn},

 

 

4.7

 

 

Jefferson Capital Systems
Honprionity Creditor’s Name

Po Box 1259
Runber Street

Qaks PA 19456
Cay

 

State ZIP Code

Who incurred the debt? Check one.

a Debtor 4 only

(1 pebdtor 2 onty

(1 debtor 1 and Debtor 2 only

CD Atleast one of the debtors and another

© Check if this claim Is fora community debt
ts the claim subject to offset?

a No
C) ves

Premier Performance Products D
i Honpriority Credtor’s Name

278 E, Dividend Dr.
Number Street

After listing any entrlos on this page, number them beginning with 4.4, followed by 4.6, and so forth. ©

 

Rexburg 1D 83440
City Slats Zip Coda

Who incurred the debt? Check one.
a Debtor 1 only
(2 Debtor 2 only

CI Debtor 4 and Debtor 2 only
OO At feast one of the debtors and another

O Cheek If this claim [s for a community debt
is the claim subject to offset?

a No
QO) ves

 

Pro Consulfing Seryices/matco
Honpriority Creditors Name

Po Box 66510
Humber Street

Huston TX 77266
City State ZIP Coda

 

Who Incurred the debt? Check one.

4 Debtor 1 only

O) debtor 2 onty

(2 Debtor 1 and Debtor 2 only

Co Atleast one of the debtors and another

CG check if this claim Is for a community debt

Is the claim subject to offset?

4A No
C3 Yes

Offidal Form 106E/F

 

Schedule EJF: Creditors Who Have Unsecured Claims

 

Last 4 digits of account number OOOL  __. __.
When was the debt Incurred? 2011

As of the date you file, the clalm is: Check all that apply.

CJ Contingent
(3 Uniquidated
C2 Disputed

Type of NONPRIORITY unsecured claim:

(1) Student foans

C2 Obligations arising out of a separation agreement o divorce that
you did not report as. priority claims

C1 Debts to pension or profit-sharing plans, and other simifar debts

{A Other. Specify_Verizon Wireless

 

Last 4 digits of account number fel

When was the debt incurred? 2012

 

As of the date you file, the claim is: Check afl thai apply.

C) Contingent
(3 Untiquidated
EJ pisputed

Type of NONPRIORITY unsecured claim:

2 Student loans

2 obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(_ debis to pension of profit-sharing plans, and other similar debis

@ other. Specify_Credit For Parts

 

 

8000
Last 4 digits of account number 1465. __. $

When was the debt Incurred? 2012

 

As of the date you file, the claim Is: Check all that apply.

1 Contingent
C1 Untiquidates
O pisputed

Type of NONPRIORITY unsecured claim:

O Student toans

(C2 Obligations arising out of a separation agreement or divorce that
you did not report as priority daims

(1 Debts te pension or profit-sharing plans, and other similar debts

i other. Specify Collection For Too! Bill

 

page 6_of 7_

 

 

 

 

 
~'Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Paged42 of 59

Debtor 1 Brandon Michael Mckay
Frvt Hane Lids Hama Last Heme

4
t
i

4,10
Spring Leaf Consumer Loan, Inc
Honprioity Creditors Name

Po Box 64
Romber Street

Evansville IN 47701-0064
City State ZIP Coda
Who Incurred tha debt? Check one.
a Debior 1 only
U Debtor 2 only
CO) Debtor 1 and Debtor 2 only
(2 Atleast one of tha debtors and another
1] check If this claim is for a community debt

Is the clalm subject to offset?

a No
CI Yes

 

‘After listing any entries on this page, number them beginning with 4.4, followed by 4.6, and so forth.

 

Washington County Clini¢
Honpriority Crecktor's Name

9245 Watson Industrial Park
Number Street

 

St Louis MO 63126
Cy Siate BP Code

Who incurred tha debt? Check one.

a Debtor 1 only

(1 Debtor 2 only

Cl Debtor 4 and Debtor 2 only

O At least one of the debtors and another

U2 Check if this clalm is for a community debt
Is the clalm aubject to offset?

 

 

 

 

a Ne

O) ves

Nonprionity Crecitor’s Name

Number Street

Cry State ZIP Code

Who incurred the debt? Check one.

Cd Debtor 1 only

( Debtor 2 only

UO) Debtor 4 and Debtor 2 only

(2 Al feast one of the debtors and another

O Check if this clalm Is for a community debt

Is the claim subject to offset?

Ol No
UI] ves

 

Offidal Form 108E/F

 

Schedule EJF: Creditors Who Have Unsecured Claims

Case nuntber a snoan),

i NONPRIORITY Unsecured Claims Continuation Page

 

Last 4 digits of account number 9869 __ $ 2000
When was the debt incurred? 2008

As of the date you file, the claim is: Check ali that apply.

C) Contingent
2 Untiquidated
C2 Disputed

Type of NONFRIORITY unsecured calm:

(2 Student loans

CO) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

TD Debits to pension of profit-sharing plans, and other similar debfs

(4 other, specty_Auto Loan

   

Last 4 digits of account number 2154
2/87

—_——— _——$=$< ==;

When was the debt Incurred?

 

As of the date you file, the claim is: Check all that apply.

CJ Contingent
C) Untiquidated
C) Disputed

Type of NONPRIORITY unsecured claim:

(1 student loans

©) Obligations arising oul of a separation agreement or divorce Ihal
you did not report as priority claims

© Debis to pension or profit-sharing plans, and other simifar debts

(A other. Specty_ Medical Bill

 

 

Last 4 digits of account number ___)» __. __. __

When was the debt Incurred?

 

As of the date you file, the clalm Is: Check all thal apply.

1 Contingent
C1 Untiquidated
Cd Disputed

Type of NONPRIORITY unsecured claim:

{J Student loans

CD objigations arising out of a separation agreement of divosce thal
you did not report as priority claims

(C2 debts to pension or profit-sharing plans, and other similar debts

2) other. Specify,

 

page7_ of 7_

 

 

 

 
Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page43 of 59

Saks MC Ca aC) Regs ae 7 eeeraret

  

  

Debtor Brandon Michael Mekay
Feet Heme Lisdohe Bare Last Barre

 
   
  

 

      
     
     

Debtor 2
(Spouse Hiking) Farvtttane Midhe Hara Loa Name

 

United States Bankruptcy Court for the: Distrid of COLORADO

Case number
{if knoan}

 

QO] Check if this is an
amended filing

 

Official Form 106G
hedule G: Executory Contracts and Unexpired Leases 4216

Sc

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. !f more space is needed, copy the additional page, fill It out, number the entries, and attach it to thls page. On the top of any
additional! pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
[No Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

{ lYes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property {Official Form 106A/B}.
2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for {for

example, rent, vehicle lease, cel! phone}. See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired feases.

’ Parson or company with whom you have the. contract orlease "State what the contract or lease Is for .

 

Name

 

 

|

| Number ‘Street
| Cy Slate ZIP Code
i

|

 

Name

 

 

 

 

| Number Street
|

i. OY, bee ___ State ZIP Code

 

Name

 

 

iy. ne State AIP Code

| Number Street
|
|

 

Name

 

Number Street

 

{

i

| Wo Bate IP Code
|

i

 

 

 

Number Street

 

|

Offidal Form 108G Schedule G: Executory Contracts and Unexpired Leases page 1of__.

City State ZIP Code

 

 

 
~ Case'18-17091-EEB Doc#1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page44 of 59 |

Bebtor 1

po Additional Page if You Have More Contracts or Leases

“ Person or company with whom you have the contract or lease

Brandon Michael

Finthane

Paddia Mame

Mekay Case number (siraant
Last Namie

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

city

2.8

State

ZIP Code

 

Name

 

Number

Street

 

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

City

State

ZIP Code

 

Name

 

Number

Street

 

State

ZIP Code

 

Name

 

Number

Street

 

State

ZIP Code

 

Name

 

Number

Street

 

 

city

Official Form 108G

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

_. | What the contract orleaseisfor

page of__

 

 

 

   

 

 

 
~ Gase:18-17091-EEB Doc#i Filed:08/14/18 _ Entered:08/15/18 15:21:10 Page45 of 59

sain ee cn eee pose a

  

 
    

 

    
   
     

 

Debtor 1 ‘Brandon Michael Mckay
frets Pabta Hana bast Kame

Debtor 2

(Spouse, if fing) Fret Heme Lidda ane Last Hane

United States Bankruptcy Court for the: pistrict of COLORADO

 

Case number
{H knean)

 

CI Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 42/46

Codebtors are people or entities who are also Ilable for any debts you may have. Be as compiste and accurate as possible. If two mamied people
are filing together, both are equally responsible for supplying correct Information, If more space is needed, copy the Additional Page, fill It out,
and number the entries In the boxes on the loft. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

4, Do you have any codehtors? (If you are filing a joint case, do nol list elther spouse as a codebtor.}
\ No
ves
2. Within the last 8 years, have you lived Ina community property state or territory? (Community property states and tenifories indude
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
C1} No. Go to fine 3.
L} Yes. Did your spouse, former spouse, or fegal equivalent live with you at the time?
OQ) No
{2 Yes. fn which community state or territory did you live? _ Fill In the pame and current address of thal person.

 

Nama of your spouse, former spouse, or legal equivatent

 

Number Street

 

City State ZIP Code

4, In Column 4, fist all of your codebtors. Do not Include your spouse as a codebtor if your spouse is filing with you. List the person
shown In line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule B/F (Official Form 106E/F), or Schedule G (Offictal Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 4:Yourcodebtor . : ee Cotumn 2: The creditor to whom you owe the debt -
— , , Check all schedutes thal apply: |
3.4] |
1 Schedule D, fine
Name
Q Schedule EF, line
Humber Street O Schedule G, fine
Cy. a, SHR, oo. __, ZIP Code
3.2
2 Schedule D, fine
Name
QO Schedule E/F, fine
Humber Street C] Schedule G, tine
Cay . coe. . State co. ZIP Code
3.3
O] Schedule D, fine
Name
O) Schedule Ef, tine
umber Bireet G Schedule G, tine
CAy . . State a  GPCode . . a i

 

Official Form 406H Schedule H: Your Codebfors page f of ____

 

 

 

 

 

 

 
Debtor 1 Brandon Michael!
Fret Mame Biddle Fame

~~ Case:18-17091-EEB Doc#:1  Filed:08/14/18

Mekay

Vast Hare

Case number (ffeosn)

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| Page to List More Codebtors

Column i: Your codebtor

P-]

Column 2: The creditar to whom you owe the debt

 

ame

 

Humber Street

 

State

JP Code

 

Name

 

Number Street

 

__ State

_ AR Code.

 

Name

 

Number Steeet

 

State

ZP Code

 

 

Number Street

 

__ Stale

__ 2lP Code

 

Name

 

Romber Street

 

ta

Slate

Zip Code

 

 

 

State

ZIP Code

 

Hame

 

Humber Street

 

State

_ 2P Code

 

Name

 

Humber Street

 

 

Official Form 106H

 

BERR ace nennneerae uname

Schedule H: Your Codebtors

EP COS anrennenninetenynnensicoataninnner

Check all schedules that apply:
O Schedule D, line

0 Schedule EF, line
C4 Schedule G, line

 

 

 

C1 Schedule D, line
O) Schedule E/F, line
() Schedule G, line

 

 

 

O] Schedule D, line
2 Schedule EF, fine
) Schedule G, line

 

 

 

1 Schedule 9, line
0 Schedule EF, line
1 Schedule 6, line

 

 

 

O) Schedule D, line
2 Schedule E/F, line
1 Schedute G, line

 

 

 

O] Schedule D, line
QO Schedule &/F, line
(] Schedule G, line

 

 

(1 Schedule D, line
1 Schedule Ef, line
QQ Schedule G, line

 

 

 

0 Schedute D, line
QO) Schedule E/F, line
(1 Schedute G, line

 

 

 

 

 

 

 
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aay us Pen eet Seta et ae re

 
      

Brandon Michael Mekay

Debtor 1
Fist Hane Vite Hane Last Name

    
  
 
    

   

Debtor 2
(Spouse, #ffing) First ane Midge Hama Lest Mame

COLORADO

 

United States Bankruptcy Court for the: District of

 

   
   
  
 

Check if this is:

() An amended filing

(2? A supptement showing postpetition chapter 13
income as of the following date:

Official Form 106i WAT DDT YY

Schedule I: Your income 4248
Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2}, both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, Include information about your spouse.

If you are separated and your spouse Is not fillng with you, do not Include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Ea Describe Employment

‘4. Fillin youremployment

Case number
(lfkooan)

 

 

 

Debtor1 Oo ” Rebter 2 or non-filing spouse

 

 

| Enformation. :
| Ifyou have more than one job,
' attach a separate page with i:
| a farmation’s about P aiienal Employment status ia Employed (oO Employed
| employers. LY Not employed (Cl Not employed
| Include part-time, seasonal, or
: self-employed work. :
Mechanic
t
Occupation may inctude student Occupation
or homemaker, if ft appties.
Employer's name Self Employeed

 

581 Delta Ave
Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City Siate ZIP Coda

How long employed there? = 8mos

 

Give Datails About Monthly Income

| Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

: If you or your non-filing spouse have more than one employer, combine the Information for all employers for that person en the lines
below. If you need more space, aftach a separate sheet to this form.

ForDebtor1. | ForDebtor2or —
non-filing spouse i

 

: 2. List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

deductions). H not paid monthly, calculate what the monthly wage would be. 2. ¢ 2000 $

3, Estimate and {lst monthly overtime pay. 3, +30 +§
i |
| i
, 4. Calculate gross Income. Add line 2 + tine 3. 4. ] $2000 $

 

 

 

 

 

Official Form 1061 Schedule |: Your Income page 4

 

 

 

   

 

 

 

 
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Debtor 4 Brandon Michael Mckay Case number (ainoan)
First ame bitte Hans Ladi Mane

| ForDebtort For Debtor2or
ie © flOn-filing spouse _ |
t
© COpy HG A BETO. eset seneresteseesstnrtnaneeneennnnerinencestnatisaneriaaterrinnes >4 $2000 $
|
_ 6. List all payroll deductions:
|
5a. Tax, Medicare, and Social Security deductions fa. $0 $
5b. Mandatory contributions for retirement plans 5b. $0 $
6c. Voluntary contributions for retirement plans Sc, $0 $
5d. Required repayments of retirement fund loans 5d, $0 3 :
| Se. Inaurance Se. $233 $
__5f. Domestic support obligations sf $0 $
6g. Union dues 5g. $0 $
: Sh, Other deductions. Specify: na 5h. +30 +5
6. Add the payroll deductions. Add lines 5a + 5b + Sc + 6d + be +5f+5g+6h. 6. $ 233 $
| 7. Calculate total monthly take-home pay. Subtraci line 6 from line 4. 7. $1767 $
i
8. List aff other income regularly received:
8a. Net Income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total $0 $
monthly net income. 8a.
8b. Interest and dividends Sb. 30 $
8c, Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $0 5
| selilement, and property settiament. &e.
8d. Unemployment compensation ad. $0 $
: 8, Social Security 8e. $0 $
&f. Other government assistance that you regularly receive
: Include cash assistance and the value (if known) of any non-cash assistance
i that you recelve, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: ef, $4 $
i
| &g. Pension or retirement Income 89. $6 $
8h. Other monthly Income. Specify: 8h. +30 +3
| 8. Add all other Income. Ad lines 8a + 8b + 8c + 8d + Be + Bf +89 + Bh. 9. | $0 $
40. Calculate monthly Income. Add line 7 + line 9. 1767 + = ky7
: Add the entries In line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 16. $iior 2 = $1767___
14. State ail other regular contributions to the expenses that you list In Schedule J.
Include contributions from an unmanied partner, members of your household, your dependents, your roommates, and other
friends or relatives.
| Bonot inctude any amounts already inctuded in fines 2-10 or amounts that are not available to pay expenses listed In Schedule J.
| Specify: 14.+ $0
542. Add the amount in the last column of IIne 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Your Assets and Liabilifies and Certain Statistical information, if tt applies 42. TGF

i Combined

monthly Income
13,Do you expect an Increase or decrease within the year after you file this form?
NZI No.

[Cl Yes. Explain:

 

 

 

 

Offical Form 106! Schedule I: Your Income page 2

 

 

 

 

 

 
 

 

 

 

 

 

 

 
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TRA ea coer to identify your case:

    

Brandon Michael Mckay
Debior 1 Prdiiane Vaada here tes ners Check if this is:
(1 An amended filing

DA supplement showing postpetition chapter 13
expenses as of the following date:

    
 
  

 

     
      
   
   

Debtor 2
(Spouse, if fting) Firs Hane Misia Hare Last Hare

oistict of COLORADO

 

United States Bankruptcy Court for the:

oe
Case number MM? DDI YYYY

(H knoan}

 

 

Official Form 106J
Schedule J: Your Expenses 12116

Be as complete and accurate as possible. If two married people aro filing together, both are equally responsible for supplying correct
information, if more space fs needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

{if known). Answer every question.

FREE Describe Your Household

 

4. ta this a Joint case?

idl no. Go te line 2.
Ci'ves. Doos Debtor 2 live In a separate household?

Wino
a Yes. Debtor 2 must file Officiat Form 106J-2, Expenses for Separate Household of Deblor 2.

 

 

 

2, Do you have dependents? ( No
; Pependent’s relationship to Dependents Does dependent live
Do not list Debtor 1 and (i Yes. Fill out this information for Debtor 4 or Debtor 2 age with you?
Debtor 2. "each dependeit..ucserreresseereaees aT
Do not state the dependents’ Daughter 10 [i No
names. (Hi Yes

(Aino
(Ci Yes
[No
(Ki Yes
al No
(Cr, Yes
(iNo
Aes

 

 

 

 

3. Do your expenses include i
expenses of people other than Ia No
yourself and your dependents? [Cll ves

FReEaey Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using thls form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy Is filed, If this is a supplemental Schedule J, check the box at the top of the form and fill [n the

 

applicable date.

Include expenses paid for with non-cash government assistance if you know the vaiue of . ao

such assistance and have Included it on Schedule I: Your income (Official Form 1061.) Your expenses

4. Tho rental or home ownership expenses for your residance. Include first mortgage payments and “oo... CO
any rent for the ground oF lot. 4. $_—
If not Inctuded In line 4:
4a, Real estale taxes 4a § 0
4b. Property, homeowner's, or renter’s insurance 4b. §. 0
4c. Home maintenance, repatr, and upkeep expenses 4c. §&, 0
4d, Homeowner's association or condominium dues 4d. $ 6

Official Form 406J Schedule J: Your Expenses page 14

 

 

 

 

 

 

 

 
Debtor 1

10.
14.
42,

13,
44.

15,

16.

17.

18,

19.

20.

Official Form 106J

Brandon Michael
Fira Hate Midde Hanis

Mekay

Last Hams

 

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

Ba,
6b,
6c.

Electricity, heat, natural gas
Water, sewer, garbage collection
Telephone, cell phone, intemet, satellite, and cable services

6d, Oiher. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dantal expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included In fines 4 or 20.

15a. Life insurance

45b. Health insurance

15c. Vehicle insurance

15d. Other insurance. Specify.

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 0
installment or lease payments:
47a. Car payments for Vehicle 1
17b. Car payments for Vehicie 2
17c. Other. Specify:
17d. Other. Specify:

Case number (inn),

Your payments of allmony, maintenance, and support that you did not report as deducted from

your pay on line &, Schedule |, Your income (Official Form 106).

Other payments you make to support others who do not live with you,
Specify:

Other reat property expenses not Included in IInes 4 or & of this form or on Schedule f: Your fncome.

20a. Mortgages on other property
20b. Real estate taxes

20c. Property, homeowner's, or renter's insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

Ga.
8b.

40.
11.

12.
43.
14.

15a.
16b.
186.
48d.

16.

tifa.
17b.
i7c,

17d.

18.

19.

20a.
20b.
20c.
204.
20e.

boxe

 

(Case:18-17091-EEB Doc#:1 Filed:08/14/18  Entered:08/15/18 15:21:10 Page50of59.

“Your expenses

 

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$ 175

s 150
5 0
¢ 200
$ 125
5 15
g 20
sg 30

g 400

 

 

 

 

 

 

s 100
3 9

¢ 0
$0
3 233
$0

 

 

ts

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Debtor 1 Brandon Michael Mckay Case number escent.
Fret Mame Diadde Hane Last Mame
24. Other. Specify: 24. +3 0

 

22. Catculate your monthly expenses.

22a, Add lines 4 through 21. 22a. | g 2395
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. $
22c, Add line 22a and 22b. The result is your monthly expenses. 220. $

23. Calculate your monthly net income.
23a, Copy line 12 (your combined monthly income) fram Schedule 1. 23a. $ 1767

23b. Copy your monthly expenses from tine 22c above. 2%. gs 2395

 

23c. Subtract your monthly expenses from your monthly income. 628
The result is your monthly nef income. 236. $

 

 

 

24. Do you expect an Increase or decrease in your expanses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

mf No.

Dives. Explain here:

Official Form 106J Schedule J: Your Expenses page 3

 

 

 

 

 

 

 
~Case:18-17091-EEB Doc#:1 Filed:08/14/18 Entered:08/15/18 15:21:10 PageS20f59 °°

ata ey eC to identify reat Pere

Debtor 4 Brandon Michael Mekay

Finthame Mitte Name East Manta

 

LED a
om SERETH S, GARNER, CLERK

(Spouse, if fing) First#tane Midte Name Last Mame

United States Bankruptey Court for the: District o¢ COLORADO 7S AUG TU > 3 07

os TC¥ COURT
Et # a
MEA ee COLORADUCD Check itthis is an

 

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12116

 

If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtalning money or property by fraud in connection with a bankruptcy case can result in fines up fo $260,000, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 162, 1341, 1619, and 3571.

| Sign Below

Did you pay or agree to pay someone who js NOT an aftorney to help you fill out bankruptcy forme?

 

     

C1 No

( Yes. Name of person _ Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (Cfficial Form 119).

Under penalty declare Anat | have read the summary and schedules filed with this declaration and

pewury,
that they are true 4 g

     

    

x

Signature of Debtor 2

 

 

Date [6 Date
Ml DO YYYY MME DD F YYYY

Official Form 106Dec Declaration About an Individual Dabtor’s Schedules

 

 

 

 

 

 
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PB 201A (Form 201A) (11/12)

UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptey Code, this notice to individuals with primarily consumer
debts: (1) Describes briefly the services available from credit counseling services; (2) Describes briefly the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorney General may examine all information you supply in
connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to file a petition, Court
employees cannot give you legal advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joimt case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed from the bankruptcy court in a jointly-
addressed envelope, unless you file a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptey relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis. The briefing must be given
within 180 days before the bankruptcy filing. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a joint
case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptey Code Ayailable to Individual Consumer Debtors

Chapter 7: Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine
whether the case should be permitted to proceed under chapter 7. Hf your income is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the
trustee, or creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
Code. It is up to the court to decide whether the case should be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to
pay your creditors,

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny

 

 

 

 

 

   

 

 

 

 
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Form B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy
court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptey Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.

After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Totai fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptey case is subject to a fine, imprisonment, or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Office of the United States Attorney,
and other components and employees of the Department of Justice,

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court, The documents and the deadlines for filing them are listed on Form B200, which is posted at

http:/Avww.uscourts.gov/bk forms/bankruptey_ forms. html#procedure.

 

 

 

 

 

 
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B 2016 (Form 201B) (12/09)

UNITED STATES BANKRUPTCY COURT

District Of COLORADO

Mckay, Brandon Case No
Debtor

In re

 

Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
1, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that 1 delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code,

 

 

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
Address: preparer is not an individual, state the Social Security
number of the officer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
X by 11 ULS.C. § 110.)

 

Signature of Bankruptey Petition Preparer or officer,
principal, responsible person, or partner whose Social
Security number is provided above.

 
  
  
 

Certification of the Debtor,

I (We), the debtor(s), affirm that I (we} have received and read the a tired by § 342(b) of the Bankruptcy
Code.

erdhn Weal (8) Si uisept Deby Yee
rinted Name(s) of Dentor(s 1 : ebtgr ate
Ae

Case No. (if known)

 

Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by [1 U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Official Form BI. Exhibit B on page 2 of Form BI contains a certification by the

- debtor’s attorney that the attorney has given the notice to the debtor, The Declarations made by debtors and bankruptcy
petition preparers on page 3 of Form B1 also include this certification.

 

 

 

 

 

 

   

 

 

 
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FILET er, CLE

{
United States Bankxaptey CNN
District Of GOLOR 301
spregRUPTCY COUR?
Ue Fall OF COLURALS
IN RE. Mckay, Brandon

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true

and correct to the best of my/our knowledge and that it corresponds to the creditors listed

in my/our schedules.

  

 

Joint Debtor

UOVUSTOI 430 LOINLSIO
O3 AQLdAYMNYS “SA

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Gad

 

 

 

 

 

 
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J&h Auto
301 E lat st
Akron CO 80720

Fike
KENNETH S, GARGHER, CLERK

LAL
HONE Ty > 3g

US. BANK Rup “nts
DISTRICT OF cornet
Jefferson Capital Systems

Po Box 1259
Oaks PA 19456

Premier Parformance Products D
278 E. Dividend Dr.
Rexburg ID 83440

Pro Consulting Servicea/matco
Po Box 66510
Huston TX 77266

Spring Leaf Consumer Loan, Ine
Po Box 64
Evanaville IN 47701-0064

Washington County Clinic
8245 Watson Industrial Park
St Louis MO 63126

 

 

 

 

 

 

 

 

 

 
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Audrey Dolan
581 Delta Ave
Akron CO 80720

Capitalone
P.o. Box. 60599
City Of Industry CA 91716

Capitalone
No Address Available
Mclean VA 22101

Colorado E470 Toll Road
22470 E 6th Pkwy #110
Aurora CO 80018

Credit One Bank/ Mem
P.o. Box 2121
Warren MI 48090

David And Tina Mckay
347 3rd st
Fort Lupton CO 80621

Hrrg
Po Box 8486
Coral Springs FL 33075

I.q. Data International, Inc
Po Box 2130
Everett WA 98213

 

 

 

 

 
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UNITED STATES BANKRUPTCY COURT FILED

FOR THE DISTRICT OF COLORADO AENNETH S, GARDNER, CLERK
IN RE! )  cHAPTER 7 WIS AUG | YUP 307
)
US. BANKRUPT ay
FIRST MIDDLE LAST NAME ) f { ie a ai j
Cardona yee ae
y\ it ebtor(s), )

 

STATEMENT UNDER PENALTY OF PERJURY
CONCERNING PAYMENT ADVICES

 

I, XXXXX, state as follows:

I did not file with the court copies of some or all payment advices or other
evidence of payment received within 60 days before the date of the filing of the petition
from any employer because:

Check applicable boxes:

[] I was not employed during the period immediately preceding the filing of the
above-referenced case, as I have not been employed since 2009;_

[ ] I was employed during the period immediately preceding the filing of the above

referenced case but did not receive-any payment advices or other evidence of payment
from my employer within 60 days before the date of the filing of the petition;

Iam self-employed and do not receive any evidence of a an employer;

[ ] Other (please provide explanation):

 

Dated:

  

Printed name of debtor

  

 

 

 
